               Case:
AO 106 (Rev. 04/10)      2:21-mj-00686-KAJ
                    Application for a Search Warrant Doc #: 1 Filed: 10/21/21 Page: 1 of 26              PAGEID #: 33


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Southern District of Ohio

              In the Matter of the Search of                          )
          (Briefly describe the property to be searched               )
           or identify the person by name and address)
                                                                      )         Case No.    2:21-mj-686
                                                                      )
OONE BLACK LG TRACFONE WIRELESS CELLULAR                              )
   TELEPHONE, IDENTIFICATION NUMBERS:                                 )
        GPLGL322DCG8 and ZNFL322DL
                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A (Section I) to the Affidavit in Support of the Application, incorporated herein by reference.


located in the ___S_o_u_th_e_m
                             _ _ _ District of _ _ _ _ _ _O_h_io_ _ _ _ _ , there is now concealed (identify the
person or describe the property to be seized) :

  See Attachment A (Section II) to the Affidavit in Support of the Application, incorporated herein by reference.


           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
             Code Section                                                       Offense Description
                                          Conspiracy to Distribute and Possess with Intent to Distribute Controlled
         21 U.S.C. §§ 846 and             Substance
         841(a)(1)
           The application is based on these facts:

         See attached Affidavit
            ~ Continued on the attached sheet.
            ~ Delayed notice of _1Q__ days (give exact ending date if more than 30 days: _ _ _ __                      ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                          ~ :/;,:,c(M,
                                                                                      John Ypsilantis, FBI Special Agent
                                                                                              Printed name and title

 Sworn to before me and signed in my presence.


 Date:
            October 21, 2021


 City and state: Columbus, Ohio
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 2 of 26 PAGEID #: 34




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN THE MATTER OF APPLICATIO N OF THE
 UNITED STATES OF AMERICA FOR A
 WARRANT DIRECTING THE SEARCH OF:                      Case No.: 2:21-mj-686

 ONE BLACK LG TRACFONE WIRELESS                        UNDERSEA L
 CELLULAR TELEPHONE,
 IDENTIFICATION NUMBERS:
 GPLGL322DCG8 and ZNFL322DL


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, John Ypsilantis, being duly sworn, depose and say:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and, acting as

such, I am a "federal law enforcement officer" within the meaning of Fed. R. Crim. P. 41(a)(2)(C),

that is, a government agent engaged in enforcing the criminal laws and duly authorized by the

United States Attorney General to request a search warrant.

       2.     I entered on duty at the FBI Academy in Quantico, Virginia, on May 14, 2017. I

am currently assigned to the to the FBI Cincinnati Division (Columbus Resident Agency) Joint

Terrorism Task Force (JTTF). I have been assigned to this squad since January 2021. From

October 2017 until January 2021, I was assigned to the FBI Pittsburgh Division Greater Pittsburgh

Safe Streets Task Force. I was employed as a U.S. Border Patrol Agent with the Department of

Homeland Security (DHS) Customs and Border Protection (CBP) from July 23, 2009 to May 13,

2017. From January 2012 until May 2017, I was assigned as a Task Force Officer (TFO) to the

FBI Cleveland Division Organized Crime Task Force.




                                                1
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 3 of 26 PAGEID #: 35




       3.      During the course ofmy employment as an FBI Special Agent, FBI TFO, and U.S.

Border Patrol Agent, I have participated in numerous complex criminal, national security, and

international and domestic terrorism investigations, as well as investigations of criminal

organizations involved in both the manufacture and distribution of controlled substances. I have

also participated in numerous investigations involving the use of federal and state search warrants

to collect evidence, including controlled substances, the seizure of narcotics-related records, and

other types of evidence that document the activities of criminal organizations in both the

manufacture and distribution of controlled substances.           To successfully conduct these

investigations, I have utilized a variety of investigative techniques and resources including

physical and electronic surveillance, various types of infiltration (including undercover agents,

informants, and cooperating sources), pen register and trap and trace devices, GPS and telephone

tracking devices, trash covers, mail covers, pole cameras, stationary video recordings, and audio

and audio/video recording devices. Additionally, I have personally participated in Title III wiretap

investigations, pursuant to 18 U.S.C. § 2516, in the Northern District of Ohio (NDO) and the

Western District of Pennsylvania (WDPA).

       4.      For instance, I was the lead agent in a federal investigation into a violent,

neighborhood street gang known as "SCO". As a result of that investigation, from January 2019

through May 2019, I obtained nine Title III wiretap authorizations. As a result of that wiretap

investigation, thirty-three individuals were charged by a federal grand jury in three related

Indictments for violations of federal drug and firearms laws. See US. v. Leavy, et al., Crim. No.

19-160 (WDPA June 4, 2019); US. v. McFadden, et al., Crim. No. 19-162 (WDPA June 4, 2019);

US. v. Vanderslice, et al., Crim. No. 19-163 (WDPA June 4, 2019).




                                                 2
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 4 of 26 PAGEID #: 36




        5.     Additionally, I was the lead agent in a federal investigation into the violent, outlaw

motorcycle gang known as the Pagan's Motorcycle Club. As a result of that investigation, from

August 2020 through December 2020, I obtained ten Title III wiretap authorizations. As a result

of that wiretap investigation, thirty individuals were charged by a federal grand jury in three related

Indictments for violations of federal drug and firearms laws. See U.S. v. Kushik, et al., Crim. No.

20-374 (WDPA Dec. 1, 2020); US. v. Peluso, et al. , Crim. No. 20-375 (WDPA Dec. 1, 2020);

US. v. Rana, et al., Crim. No. 20-377 (WDPA Dec. 1, 2020).

       6.      In addition to the training I received at the FBI Academy and the U.S. Border Patrol

Academy, I have received specialized training from the FBI and DHS/CBP focused on topics such

as drug interdiction, drug detection, money laundering techniques and schemes, drug

identification, asset identification and removal, and methods utilized by organized criminal

enterprises and drug trafficking organizations to carry out the aforementioned criminal conduct.

       7.      Through the investigations that I have participated in, my training and experience,

and conversations with other agents and law enforcement personnel, I have become familiar with

the methods used by organized criminal enterprises, drug trafficking organizations, outlaw

motorcycle gangs, street gangs, and prison gangs to smuggle and safeguard controlled substances

and firearms, to distribute, manufacture, and transport controlled substances and/or firearms, and

to collect and launder related proceeds. I know that, in accordance with 21 U.S.C. § 841, it is

unlawful for an individual to manufacture, distribute, or possess with intent to distribute or

dispense a controlled substance and, pursuant to 21 U.S.C. § 846, it is unlawful for an individual

to conspire to manufacture, distribute, or possess with intent to distribute or dispense a controlled

substance.




                                                  3
     Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 5 of 26 PAGEID #: 37




        8.     Based on my training and experience, I know that it is common practice for drug

traffickers to routinely utilize telephones (including cellular phones and prepaid phones), calling

cards, text messaging, email, counter surveillance, false or fictitious identities, and coded

communications to communicate with their customers, suppliers, couriers, and other co-

conspirators for the purpose of insulating themselves from law enforcement detection. In an effort

to hide their true identity, it is not uncommon for drug traffickers to initiate such mobile or prepaid

telephone service in the name of an associate or family member or in the name of a fictitious

individual. Drug traffickers often require the use of a telephone facility to negotiate times, places,

schemes, cost, and manners for importing, possessing, concealing, and distributing controlled

substances, and for arranging the laundering and concealment of proceeds derived from the sale

of controlled substances. Moreover, it is not uncommon for drug traffickers to utilize multiple

telephone numbers - for instance, a buyer telephone and an associate telephone - as an additional

means to avoid law enforcement detection and as an additional layer of protection for the

organization should law enforcement seize one phone and not the other. Additionally, as a result

of my narcotics-related training and experience, I am familiar with the methods and language used

to distribute narcotics, to launder proceeds, and to operate drug trafficking conspiracies.

       9.      Further, I am aware that drug traffickers sometimes use their cellular telephones to

take and retain photographs and videos of their drugs and narcotics sales proceeds. Such drug

traffickers, like law-abiding citizens, sometimes take photographs and videos using their cellular

telephones of themselves with their friends, relatives, and associates and keep the photographs on

their cellular telephones. Such photographs and videos, when taken or retained by drug traffickers,

can be evidence, and can lead to additional evidence of illegal drug trafficking activity by

identifying the drug traffickers, contraband, and people who are actively assisting and/or



                                                  4
     Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 6 of 26 PAGEID #: 38




supporting the drug trafficking activity, as well as the locations where they live or where they store

their drugs, proceeds, and/or paraphernalia.

          10.   I am aware that evidence of drug crimes can often be found in electronic media,

including cellular telephones, laptop computers, cameras, and tablet devices. Such evidence can

be found throughout those items, such as in text messages, contact lists indicating the names and

numbers of associates, call/text logs indicating calls/texts made to and received from associates,

online search history files, word processing documents, photographs, and video files. It should be

noted that, with the advance of technology, the distinction between computers and cellular

telephones is quickly becoming less clear. Actions such as internet searching or emailing, in

addition to calling, text messaging, and photographing, can now be performed from many cell

phones.     In addition, as noted above, those involved in drug trafficking crimes commonly

communicate using multiple cellular telephones. Moreover, the specific phone numbers of, and

the specific phone numbers dialed by, particular cellular telephones can be evidence of drug

trafficking, particularly in light of the fact that it is a practical necessity that drug traffickers

communicate with each other, as well as with their customers and suppliers, by telephone. Such

phone numbers can confirm identities of particular associates and the occurrence of certain events.

          11.   Further, as with most electronic/digital technology items, communications made

from an electronic device, such as a cellular telephone, are often saved or stored on the device.

Storing this information can be intentional, for example, by saving a text message or a contact or

an e-mail. Digital information can also be retained unintentionally. Traces of the path of an

electronic communication or of an internet search may be automatically stored in many places on

a cellular telephone. A forensic examiner often can recover evidence that shows when and in what

manner a user of an electronic device, such as a cell phone, was used. Electronic files or remnants



                                                  5
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 7 of 26 PAGEID #: 39




of such files can be recovered months or even years after they have been downloaded, stored,

deleted, or viewed.

        12.    Additionally, based on my training and experience, I know that cellular technology

and mobile computing devices are highly portable, and may be easily stored or concealed on the

person of the user/owner.

       13.     As explained below, there is probable cause to conclude that evidence of violations

of 21 U.S.C. § 841(a)(l), distribution and possession with intent to distribute controlled

substances, and 21 U.S.C. § 846, conspiracy to distribute and possess with the intent to distribute

controlled substances will be found in the cellular telephone, identified below.

                                      SEARCH LOCATIONS

       14.     I am seeking a search warrant authorizing the search of the following: one black

LG Tracfone Wireless cellular telephone, Identification Numbers:            GPLGL322DCG8 and

ZNFL322DL (hereinafter the "TARGET DEVICE").

       15.     The applied-for warrant would authorize the forensic examination of the TARGET

DEVICE, which is currently in FBI custody at 425 West Nationwide Boulevard, Columbus, Ohio,

for the purpose of identifying electronically stored data particularly described in Attachment A.

      BASIS FOR FACTS/CIRCUMSTANCES CONTAINE D IN THIS AFFIDAVIT

       16.     The information contained within this Affidavit is derived from my personal

knowledge, obtained as a result of my participation in this investigation, as well as from the

following sources of information:

               a.     Monitored and recorded communications;

               b.     Oral and written reports about this and other investigations that I have
                      received, directly or indirectly, from state and local officers, investigators,
                      and detectives, as well as federal agents and task force officers;

               c.     Surveillance that has been reported to me, either directly or indirectly;

                                                6
     Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 8 of 26 PAGEID #: 40




                d.      Review of telephone toll records and pen register/trap and trace
                        information;

                e.      Independent investigations by local law enforcement organizations; and

                f.     Interviews/conversations with confidential sources.

        17.     Except where otherwise noted, the information set forth in this Affidavit has been

provided to me directly or indirectly by FBI agents and/or task force officers or local law

enforcement agents/officers.

        18.     Unless otherwise noted in this Affidavit, if! assert that a statement was made, the

information was provided to me by another law enforcement officer (who may have had either

direct or hearsay knowledge of the statement) to whom I have spoken or whose report I have read

and reviewed. Such statements are among many statements made by others, and are stated in

substance, unless otherwise indicated.

       19.      Similarly, information resulting from surveillance (except where otherwise

indicated) does not set forth my personal observations, but rather observations that have been

provided directly or indirectly to me through other law enforcement officers who conducted such

surveillance.

       20.      Whenever I state a belief, that belief is based upon my training and experience, as

well as information obtained during this investigation.

       21.      Further, I do not rely upon facts not set forth herein in reaching my conclusion that

a warrant should be issued, nor do I request that this Court rely upon any facts not set forth herein

in reviewing this Affidavit in support of the Application authorizing the forensic examination of

the TARGET DEVICE.

       22.      Because this Affidavit is being submitted for the limited purpose of seeking

authorization for the forensic examination of the TARGET DEVICE, I have not set forth each


                                                 7
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 9 of 26 PAGEID #: 41



and every fact learned during the course of this investigation. Instead, I have set forth only those

facts that I believe are necessary to establish the requisite probable cause to support a warrant

authorizing the forensic examination of the TARGET DEVICE.

                       FACTS ESTABLISHING PROBABLE CAUSE

       23.     This investigation is the result of efforts by the FBI, Ohio State Highway Patrol

(OSHP), Ohio Department of Rehabilitation and Corrections (ODRC), and other federal and local

law enforcement agencies to investigate the criminal activity, including drug trafficking, of

individuals who are members and/or associates of a violent, street and prison gang known as the

Hamilton County Bloods, hereinafter the "HCB." 1

       24.     The BLOODS street gang, while a national organization, operates "sets" and/or

"subsets" in various cities and counties in the United States. This investigation pertains to the

HCB set or subset operating in and around the Southern District of Ohio, including in Hamilton,

Butler, Montgomery, Franklin, Ross, and Noble counties, and, more specifically, in and around

the Ohio Department of Rehabilitation and Correction (ODRC) prison system to include Ross

Correctional Institution (RCI) and Noble Correctional Institution (NCI).

       25.     This Affidavit specifically relates to an ongoing investigation into members and/or

associates of the HCB, which is a violent street and prison gang, its suppliers, distributors, and

higher-level drug-dealers, including Antonio LEICHT (LEICHT), and others known and

unknown, and the use of the TARGET DEVICE, by LEICHT, to conspire to distribute and to




               Unless otherwise noted, throughout this Affidavit, the term "HCB" will be utilized
to collectively describe the members, facilitators, and/or sources(s) of supply involved in the
ongoing drug trafficking conspiracy in regard to the HCB set and/or subsets operating throughout
the ODRC prison system, more specifically the Ross Correctional Institution (RCI) and Noble
Correctional Institution (NCI).
                                                 8
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 10 of 26 PAGEID #: 42




possess with intent to distribute controlled substances in the Southern District of Ohio, in violation

of 21 U.S.C. §§ 84l(a)(l) and 846.

             INFORMATION PROVIDED BY CONFIDENTIAL SOURCE 1 {CSl)

       26.     A confidential source (hereinafter CS 1) has been cooperating with law enforcement

for less than one year. CS 1 is currently motivated by consideration for infractions that may occur

while in custody and possible beneficial treatment while in custody. 2

       27.     Between June 2021 and the present, CSl was debriefed on numerous occasions.

During these debriefings, CSl identified Antonio LEICHT (LEICHT) as a known drug

courier/trafficker at RCL CS 1 is familiar with LEICHT and has been incarcerated with LEICHT

and other HCB members and associates in the same ODRC facilities. CSl has provided both

historical and current information on LEICHT and his co-conspirators.            CS 1 informed law

enforcement that LEICHT is known by the alias "ANT" and was currently incarcerated at RCI.

       28.     CS 1 indicated that LEICHT smuggles drugs into RCI through the aid of a complicit

prison staff member(S) at RCI.     In or around June 2021 CS 1 was requested to obtain a "pack"

from the laundry room (Quartermaster) at RCI. CSl advised that a "pack" was a coded prison

term for a shipment of drugs. CS 1 advised that RCI inmate LEICHT, had been the individual who

requested CS 1 to obtain the drug shipment. CS 1 advised that LEICHT had told CS 1 that the drug

shipment was concealed under a pile of clothing that was located inside of the room which contains



       2
                CS 1 has several prior arrests and criminal convictions, including felony
convictions. CS l's felony convictions include: 1998 - Felony Receiving Stolen Property; 2001
- Felony Failure to Comply; 2002 - Felony Theft; 2002 - Receiving Stolen Property x2; 2005 -
Felony Aggravated Menacing, Felony Theft; 2006 - Felony Passing Bad Checks x2,; 2015 -
Felony Possession of Drugs; 2015 - Felony Aggravated Burglary. Based upon information
provided to me from other agents/officers, who had prior conversations with CS 1, and based upon
the fact that CSl 's information was corroborated through other law enforcement means, I believe
that the information provided by CS 1, relative to the instant investigation, is reliable.


                                                 9
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 11 of 26 PAGEID #: 43



the personnel washer and dryer machines, in the Quartermaster area of RCI. Further, if CS 1

obtained the drug shipment on behalf of LEICHT, LEICHT would pay CSl five (5) suboxone

strips. CS 1 stated that he/she was unaware of the types or quantities of drugs that were contained

inside of this particular drug shipment. CS 1 further advised that the majority of the drugs that

come into RCI are initially brought into the prison through the R&D (which stands for Receiving

and Discharge) and Quartermaster areas at RCI. Additionally, CSl believes that there is a corrupt

Corrections Officer or prison staff member at the prison that was facilitating bringing the drugs

into RCI. CS 1 stated that this drug shipment was interdicted and seized by corrections officers at

RCI.

             INFORMATION PROVIDED BY CONFIDENTIAL SOURCE 2 (CS2)

       29.     A confidential source (hereinafter CS2) has been cooperating with law enforcement

for less than one year. CS2 is currently motivated by consideration for infractions that may occur

while in custody and possible beneficial treatment while in custody. 3

       30.     Between June 2021 and the present, CS2 was debriefed on numerous occasions.

During these debriefings, CS2 identified Antonio LEICHT (LEICHT) as a known drug

courier/trafficker at RCI. CS2 is familiar with LEICHT and has been incarcerated with LEICHT

and other HCB members and associates in the same ODRC facilities. CS2 has provided both

historical and current information on LEICHT and his co-conspirators.          CS2 informed law

enforcement that LEICHT is known by the alias "ANT" and was currently incarcerated at RCI.



       3       CS2 has several prior arrests and criminal convictions, including felony
convictions. CS2's felony convictions include: 2011 - Felonious Assault, Improper Handling
Discharging of a Weapon in Motor Vehicle x3. Based upon information provided to me from
other agents/officers, who had prior conversations with CS2, and based upon the fact that CS2's
information was corroborated through other law enforcement means, I believe that the information
provided by CS2, relative to the instant investigation, is reliable.

                                                10
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 12 of 26 PAGEID #: 44




       31.     CS2 stated that (CS2) was previously cellmates with Richard EBERHART

(EBERHART), also known as "ROWL", at RCI.

       32.     CS2 stated that EBERHART was engaged in collecting and distributing drugs that

came into RCI through the R&D and Quartermaster areas of the prison through his position as a

porter4 at RCI.

       33.     CS2 advised that in or around May 2021 EBERHART was caught with a

contraband cellular telephone inside ofRCI. EBERHART attempted to persuade CS2 to take the

blame for the cellular telephone and for CS2 to tell prison staff that it was CS2' s cellular telephone

and not EBERHART's. CS2 advised EBERHART that he (CS2) would not take responsibility for

EBERHART' s contraband cellular telephone.

       34.     CS2 reported that EBERHART was subsequently sent into segregation for prison

infractions. CS2 stated that the drug supply at RCI was greatly impacted at this time and there

were very limited drugs available at the prison.

       35.     Around this same time CS2 stated that he received a "scribe" 5 from RCI inmate

Garfield HOWARD (HOWARD), also known as "G-FIELDS".

       36.     CS2 stated that the scribe instructed CS2 to obtain a shipment of drug saturated

paper from RCI inmate and porter LEICHT in the Quartermaster area ofRCI. Once CS2 obtained

the drug saturated paper, CS2 was instructed by HOWARD to give the drug saturated paper to any


       4
               A porter is a position held by inmates within the ODRC prison system. In this
position, an inmate is responsible for the distribution of supplies or other materials to inmates or
staff members at the prison. The porter position allows the position holder to have regular access
to various areas of the prison and staff that other inmates would typically not have access to.
       5      A scribe is a prison term for a note written on a small piece of paper that is passed
from inmate to inmate until it reaches its intended recipient.



                                                   11
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 13 of 26 PAGEID #: 45




inmate coming out of segregation and then to advise HOW ARD which inmate he gave it to. CS2

was to communicate this to HOWARD through a scribe.

        37.     CS2 stated that HOWARD advised CS2 that CS2 owed HOWARD a drug debt for

"tune" 6 and this act would go toward paying off CS2' s drug debt.

        38.     CS2 stated HOWARD was a member of the BLOODS prison gang at RCI. CS2

stated that the BLOODS controlled the majority of the drug trafficking activities at RCI and often

assaulted inmates who interfered with their drug trafficking operations.

        39.     CS2 advised that he felt threatened by HOWARD and BLOODS members at RCI

and agreed to obtain the drug saturated paper from LEICHT on behalf of HOWARD.

        40.    CS2 stated that he was unaware of the type of drugs that the paper was saturated

with that he obtained from LEICHT.

       41.     CS2 further stated that once he took the folder of drug saturated paper from

LEICHT in the Quartermaster area of the prison he was immediately encountered by a Corrections

Officer and the drug saturated paper was seized.

       42.     CS2 stated that shortly after the drug saturated paper was seized CS2 received an

additional scribe from HOWARD stating that CS2's drug debt now included the cost of the

approximately 50 sheets of drug saturated paper that CS2 was caught with.

       43.     CS2 stated that glass or glasses are coded prison terms for methamphetamine.

       44.     CS2 advised that were several inmates at RCI involved in a large-scale drug

trafficking operation.




       6
               Tune is a prison term for drug saturated paper that is often smoked.



                                               12
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 14 of 26 PAGEID #: 46



        45.      CS2 stated that a former RCI inmate, who goes by the alias "BLO" controls the

entire drug trafficking operation at RCI from outside of the prison. Based on your Affiants training

and experience and knowledge of this investigation it is your Affiant' s belief that the individual

referenced as BLO by CS2 is known to the writer as Diallo BARNES (BARNES).

        46.      CS2 advised that BLO controls the access/supply route to smuggle drugs inside of

RCI through a corrupt warehouse employee at RCI. CS2 did not know the corrupt warehouse

employees name at RCI but described that corrupt warehouse employee as a black male. Further,

CS2 advised that the drugs were transported into RCI through the R&D and Quartermaster areas

of the prison.

        4 7.     CS2 stated that BLO' s corrupt warehouse employee packages and conceals the drug

shipments into various incoming boxes of products or items coming into RCI prior to their delivery

to the prison.

        48.      CS2 stated that inmates at RCI pay either approximately $10,000 or $20,000 dollars

U.S. currency to utilize BLO's drug trafficking network at RCI in order to transport drugs into the

prison facility. This cost varies with the amount of drugs that the individual inmate wanted

transported into the prison. CS2 stated that BLO would either meet with the inmate's drug supplier

outside of the prison to obtain the inmates' drugs on their behalf or BLO would supply inmates

with drugs based on their request. CS2 said that almost any type of drug could be obtained and

brought into RCI through BLO and his associates.

       49.       CS2 advised that once the drugs arrived into RCI through the Quartermaster and/or

R&D areas of the prison they were collected by EBERHART. EBERHART would then further

distribute the drugs to the appropriate inmate at RCI through his position as a porter at the prison.




                                                 13
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 15 of 26 PAGEID #: 47



       50.     CS2 stated that HOWARD, was BLO's main associate inside ofRCI. CS2 stated

that HOW ARD was responsible for BLO's drug trafficking operations inside of RCI to include

ensuring drug shipments were fulfilled and the drugs were paid for. CS2 further stated that

HOWARD also acted as BLO's, "Right hand Man" on behalf of BLO if there were issues or

discrepancies with drug transactions HOWARD would address these with inmates at RCI.

       51.     CS2 reported that once EBERHART was transferred out ofRCI in or around June

2021. After EBERHART's transfer CS2 stated that RCI inmate LEICHT took over EBERHART's

position of drug distributor in BARNES and HOWARD's drug trafficking operations inside of

RCI.

       52.     CS2 stated that he was previously incarcerated with BARNES at RCI.

             TARGET DEVICE SEIZED DURING SEARCH AT THE PRISON

       53.      On June 15, 2021, ODRC corrections officers were deployed to cell 122 of H2B

(Housing Unit 2) at RCI, after receiving an anonymous call to the prison that LEICHT was

communicating via Facebook from inside of his prison cell at RCI with unidentified individuals.

Corrections officers conducted a pat down search of LEICHT and his cellmate. After securing

LEICHT and LEICHT's cellmate inside of the T.V. room, corrections officers conducted a search

of cell 122 and discovered a black LG smartphone (TARGET DEVICE) on top of a dresser inside

of cell 122. Corrections officers questioned LEICHT and LEICHT's cell mate regarding the

ownership of TARGET DEVICE. Corrections officers stated that LEICHT claimed ownership

of TARGET DEVICE.

       54.     Based on my training and experience, and my knowledge of this investigation, to

include the above-described circumstances and the below-described jail call, it is my belief that in




                                                14
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 16 of 26 PAGEID #: 48




addition, LEICHT utilized TARGET DEVICE to facilitate drug trafficking activities with other

HCB members and associates inside and outside ofRCI and throughout the ODRC prison system.

    JAIL CALLS REGARDING LEICHT's INVOLVEM ENT IN DRUG TRAFFICKING

                                      ACTIVITIES AT RCI

       55.     I have reviewed numerous recorded ODRC GTL telephone communications

placed by EBERHART through his ODRC GTL phone system account, A566744. It is my belief

that several of these telephone communications recorded over ODRC GTL prison telephone

system show that LEICHT is actively engaged drug trafficking with HCB members and associates

inside and outside of RCI. The examples identified below are only some of the intercepted

communications.     The description of the communications reflects my interpretation and

explanation of the contents of the communications. I believe that these descriptions are accurate,

although they may not be verbatim transcripts.

       56.     On June 11, 2021, which is four days prior to the TARGET DEVICE being seized

as describe above, EBERHART placed an outgoing recorded ODRC GTL prison telephone

communication to an Jasmine TURNBOLT (TURNBOLT) who was utilizing (513) 227-4006. I

have reviewed this call, and based on my training and experience, and my knowledge of this

investigation, the above-referenced conversation can be summarized as follows: TURNBOLT

tells EBERHART that she was on the phone with an individual identified as RICKO (Phonetic).

EBERHART advises TURNBO LT that he never received his drug shipment of methamphetamine

saturated paper because he was in the hole and that HOW ARD made EBERHART 's cellmate

Ricky MANLEY (MANLEY) give HOWARD EBERHART 's drug shipment. TURNBO LT tells

EBERHART that RICKO wants to know what EBERHART wants him to do. EBERHART

instructs TURNBOLT to tell RICKO to get the activation code for a cellphone that EBERHART



                                                 15
   Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 17 of 26 PAGEID #: 49



wants to use and has access to from LEICHT who works in quartermaster. EBERHART then

instructs TURNBOLT to tell RICKO to get in contact with an associate that EBERHART refers

to as MR. J and tell MR. J that EBERHART needs BARNES.       TURNBOLT and EBERHART

discuss an individual they reference as LA. TURNBOLT asks EBERHART why EBERHART

was dealing with HOWARD. EBERHART tells TURNBOLT that EBERHART and HOW ARD

have known each other since county jail. EBERHART tells TURNBOLT that HOWARD was at

NCI and was recently moved back to RCI. EBERHART and TURNBOLT discuss EBERHART 's

relationship with HOWARD. EBERHART tells TURNBOLT that EBERHART needs to tell

HOWARD and BARNES what to do with EBERHART 's methampheta mine saturated paper

shipment that EBERHART never obtained. TURNBOLT asks EBERHART what happed to the

methamphetamine saturated paper shipment that TURNBOLT supplied to BARNES on

EBERHART 's behalf.     EBERHART tells TURNBOLT that's why EBERHART asked

TURNBOLT that's why EBERHART needed to confirm with TURNBOLT the amount of

methamphetamine saturated paper that TURNBOLT produced because EBERHART already paid

BARNES and HOWARD to have the drugs smuggled into RCI.              TURNBOLT advises

EBERHART that it was approximately 70 to 75 sheets of methampheta mine saturated paper.

EBERHART affirms and tells TURNBOLT that BARNES is going to have to send EBERHART

$10,000 U.S. dollars because that is how much EBERHART paid BARNES to have the drugs

smuggled into RCI.    TURNBOLT affirms.     TURNBOLT discusses that she packaged the

methampheta mine saturated paper correctly and everything.    EBERHART threatens that

BARNES is going to get killed or EBERHART will hurt BARNES's associates for interfering

with his drug trafficking operation. EBERHART tells TURNBOLT that EBERHART is aware

that EBERHART oversees receiving the smuggled drugs into RCI but when EBERHART was in



                                           16
   Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 18 of 26 PAGEID #: 50




trouble BARNES and HOWARD should have taken care of the drug shipments including

EBERHART's drug shipment.       EBERHART tells TURNBOLT that BARNES is the main

facilitator of the drug shipments into RCI outside of prison. EBERHART tells.TURNBOLT that

this was the reason EBERHART needs BARNES's number to speak with BARNES. EBERHART

tells TURNBO LT that he (EBERHART) will tell BARNES that BARNES is dead if BARNES

does not replace EBERHART's drug shipment. EBERHART tells TURNBOLT that BARNES

makes his own methamphetamine saturated paper and EBERHART will make BARNES pay for

everything EBERHART lost. In addition, EBERHART tells TURNBOLT BARNES will return

EBERHART's $10,000 U.S. dollars EBERHART paid to have the drugs smuggled into RCI.

EBERHART tells TURNBOLT that BARNES' drug saturated paper is low quality and that is why

EBERHART never purchased drugs from BARNES and that is EBERHART only uses BARNES

to smuggle the drugs into RCI. EBERHART tells TURNBOLT that HOWARD lost money from

the drug trafficking operation at RCI when HOWARD was transferred to NCI because Marcus

MINOR (MINOR) aka BAM, Richard GARNETTE (GARNETTE) aka WAKE, aka WACO had

poor quality drugs so they could not make money. TURNBOLT asks if GARNETTE was at RCI

and EBERHART confirms.         EBERHART tells TURNBOLT that BARNES, HOWARD,

GARNETTE, MINOR, and their associates are an organization that control the drug trade at RCI.

EBERHART tells TURNBOLT that his cell mate (MANLEY) is not from Cincinnati and was

from Lima and they threatened MANLEY to give them EBERHART's drugs while EBERHART

was in segregation. EBERHART tells TURNBOLT that MANLEY owes EBERHART money as

well because MANLEY and EBERHART split a shipment of approximately 100 sheets of drug

saturated paper that MANLEY's suppliers made. EBERHART tells TURNBOLT that he ran the

distribution at RCI when the shipments came in from BARNES and EBERHART is the only one



                                             17
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 19 of 26 PAGEID #: 51




who knew how to do it correctly and EBERHART attempted to teach others, but they were scared

so it did not work.

       57.     On June 11 , 2021, which is four days prior to the TARGET DEVICE being seized

as describe above, EBERHART placed an outgoing recorded ODRC GTL prison telephone

communication to an Latasha HAMPTON (HAMPTON) who was utilizing (513) 652-5078. I

have reviewed this call, and based on my training and experience, and my knowledge of this

investigation, the above-referenced conversation can be summarized as follows: HAMPTON tells

EBERHART that the passcode for the cell phone is Monica 2468.          HAMPTON then tells

EBERHART that she has obtained BARNES cell phone number to call. EBERHART asked how

many numbers they gave for BARNES and HAMPTON says just one.                HAMPTON tells

EBERHART that they asked if EBERHART was on the GTL or a cell phone. EBERHART tells

HAMPTON that of course he is on GTL he doesn't have a PIN for the cell phone BARNES and

BARNES' s associates have the cell phone locked.       EBERHART asks HAMPTON what

BARNES's number is and HAMPTON states (832) 725-0708. EBERHART tells HAMPTON to

ask them what the code is for the phone LEICHT gave EBERHART. HAMPTON again confirms

that the (832) 725-0708 is the number EBERHART is supposed to call BARNES at.

       58.     On June 11, 2021, which is four days prior to the TARGET DEVICE being seized

as describe above, EBERHART placed an outgoing recorded ODRC GTL prison telephone

communication to an Latasha HAMPTON (HAMPTON) who was utilizing (513) 652-5078.

HAMPTON then proceeds to place a three way call to BARNES on behalf of EBERHART. I have

reviewed this call, and based on my training and experience, and my knowledge of this

investigation, the above-referenced conversation can be summarized as follows: BARNES advises

EBERHART that he (BARNES) is aware that EBERHART was caught with a cell phone and it



                                             18
   Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 20 of 26 PAGEID #: 52




was seized while at RCI.    BARNES is concerned that EBERHART admitted to it and was

cooperating with investigators. EBERHART assures BARNES that it's all made up and he didn't

admit to anything. EBERHART advises BARNES that he (EBERHART) did not know the gang

coordinator and that the investigators at RCI could not prevent EBERHART' s transfer to Belmont

Correctional Institution (BCI). EBERHART tells BARNES that EBERHART has drugs still at

RCI that are waiting to be sent to him with his property sitting in R&D. EBERHART tells

BARNES that the price of drugs is exceptionally higher at BCI than RCI and there is profit to be

made. BANRES tells EBERHART that the drugs BARNES is going to be able to supply to

EBERHART and another associate are poor quality. EBERHART tells BARNES that the drug

quality does not matter and EBERHART will be able to move the drugs at BCI because there is

no current supply.   BARNES wants to know how EBERHART will communicate with him.

EBERHART tells BARNES that he has a cell phone but doesn't have the activation code.

EBERHART tells BARNES that LEICHT and other associates of EBERHART and BARNES are

not smart.   BARNES and EBERHART discuss heroin trafficking activity and an associate

identified as MR. J. BARNES tells EBERHART that EBERHART and MR. J were not even

supposed to get a heroin shipment and that was another customer's drug shipment. EBERHART

tells BARNES that MR. J owed EBERHART approximately $1,000 U.S. dollars so he obtained

the drugs from MR. J to sell. EBERHART tells BARNES that EBERHART was trying to get

messages to people to ask BARNES what drug order EBERHART was supposed to get from MR.

J from a drug shipment. BARNES tells EBERHART that he (BARNES) will speak with MR. J

and make sure EBERHART is supplied with the drugs.             HAMPTON interjects into the

conversation and says that she believes EBERHART's cell mate stole the drugs that were intended

for EBERHART and supplied by BARNES. BARNES affirms that he had heard the same.



                                              19
   Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 21 of 26 PAGEID #: 53




BARNES and EBERHART discuss previous drug and money transactions that occurred between

them and were facilitated with Jaimee COLVIN (COLVIN) aka Jaimee FIELDS. EBERHART

tells BARNES that EBERHART gave Ricky MANLEY (MANLEY) aka Rick, approximately

$2,500 U.S. dollars for drugs and EBERHART didn't get any drugs so MANLEY owes

EBERHART the money back. BARNES tells EBERHART that they owe BARNES money and

it's not going away. EBERHART and BARNES discuss a previous instance BARNES supplied

EBERHART with drugs and EBERHART gave approximately 10 sheets of drug saturated paper

to MANLEY for approximately $500 per sheet. BARNES tells EBERHART that he didn't receive

and money from that transaction. BARNES tells EBERHART that MANLEY is about to get

transferred out of RCI.   EBERHART tells BARNES that EBERHART believes MANLEY

cooperated with investigators. BARNES agrees. EBERHART tells BARNES that LEICHT told

EBERHART that there are only 21 sheets of the methamphetamine saturated paper left.

EBERHART tells BARNES that EBERHART told LEICHT that there was significantly more

methamphetamine saturated paper than 21 sheets. BARNES tells EBERHART that's because

investigators seized the rest of the methamphetamine saturated paper. EBERHART tells BARNES

that he understands and as soon as COLVIN gets off work, he will have her send BARNES a

money payment through an app for the drug debt. BARNES asks when COLVIN is going to start

paying and EBERHART tells BARNES today. EBERHART tells BARNES that he EBERHART

didn't have BARNES' number and that is why EBERHART tried to contact BARNES through the

JPAY prison email system. EBERHART tells BARNES to call COLVIN at the 266 number.

EBERHART again tells BARNES that MANLEY was acting strange.              EBERHART tells

BARNES that he sent drugs to an associate known as COOL WALK, but it was the wrong drugs.

BARNES tells EBERHART that's why he is looking into everything now.          BARNES tells



                                            20
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 22 of 26 PAGEID #: 54




EBERHART that they will try to get the drugs that are in EBERHART's property that is going to

be sent to EBERHART at BCI, but people are cooperating with investigators. EBERHART

affinns. EBERHART asks if an associate referenced as LIGHT SKIN paid his drug debt to

BARNES, BARNES says that he did not, and it is making them look bad. BARNES asks

EBERHART how EBERHART is going to communicate with BARNES and EBERHART tells

BARNES that EBERHART will get the code for the cell phone and contact BARNES. BARNES

affinns. EBERHART tells BARNES that one sheet of drug saturated paper will go for $1,000

U.S . dollars at BCI. BARNES tells EBERHART that he will supply EBERHART with drugs and

not to get upset. EBERHART tells BARNES that he is going to send BARNES approximately

$16,000 U.S. dollars to go towards his drug debt with BARNES. EBERHART tells BARNES that

he can only send the money in certain increments because he has been locked out of his account.

BARNES tells EBERHART that BARNES will speak with COLVIN and asks if EBERHART will

have COLVIN call BARNES today. EBERHART affinns.

             TERMS, ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       59.     Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can sometimes

be recovered with forensics tools. Based on my training and experience, I use the technical term

"wireless telephone" to convey the following meaning: a wireless telephone (or mobile telephone,

smartphone, or cellular telephone) is a handheld wireless device used for voice and data

communication through radio signals.       These telephones send signals through networks of

transmitter/receivers, enabling communication with other wireless telephones or traditional "land

line" telephones. A wireless telephone usually contains a "call log," which records the telephone



                                                21
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 23 of 26 PAGEID #: 55




number, date, and time of calls made to and from the phone. In addition to enabling voice

communications, wireless telephones offer a broad range of capabilities.         These capabilities

include: storing names and phone numbers in electronic "address books"; sending, receiving, and

storing text messages and e-mail; taking, sending, receiving, and storing still photographs and

moving video; storing and playing back audio files; storing dates, appointments, and other

information on personal calendars; and accessing and downloading information from the Internet.

Wireless telephones may also include global positioning system (GPS) technology for determining

the location of the device.

       60.     Nature of examination: Based on the foregoing, and consistent with Fed. R. Crim.

P. 41(e)(2)(B), the warrant I am applying for would permit the examination of the TARGET

DEVICE consistent with the warrant.         The examination may require authorities to employ

techniques, including but not limited to computer-assisted scans of the entire medium, that might

expose many parts of the device to human inspection, in order to determine whether it is evidence

described by the warrant.

       61.     Manner of execution: Because this warrant seeks only permission to examine a

TARGET DEVICE already in law enforcement's possession, the execution of this warrant does

not involve the physical intrusion onto a premises. Consequently, I submit there is reasonable

cause for the Court to authorize execution of the warrant at any time in the day or night.

       62.     I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41 (f)(3), that the Court authorize the officer executing the warrant to delay notice until

thirty (30) days after the collection authorized by the warrant has been completed. There is

reasonable cause to believe that providing immediate notification of the warrant may have an

adverse result, as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or



                                                 22
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 24 of 26 PAGEID #: 56



user of the TARGET DEVICE would seriously jeopardize the ongoing investigation, as such a

disclosure would give that person an opportunity to destroy evidence, change patterns of behavior,

notify confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(l). As further specified

in Attachment A, which is incorporated into the warrant, the proposed search warrant does not

authorize the seizure of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the

extent that the warrant authorizes the seizure of any wire or electronic communication (as defined

in 18 U.S.C. § 2510) or any stored wire or electronic information, there is reasonable necessity for

the seizure for the reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

                                         CONCLUSION

        63.    I submit that this Affidavit establishes probable cause justifying a search warrant

authorizing the examination of the TARGET DEVICE described in Attachment A, Section I, for

the items described in Attachment A, Section II.



               The above information is true and correct to the best of my knowledge, information,

and belief.



                                               Special Agent
                                               Federal Bureau oflnvestigatio n


Sworn and subscribed before me, by telephone
pursuant to Fed. R. Crim. P. 4 l(b)(2)(A),
     21st
this _ _ day of October 2021.




                                                 23
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 25 of 26 PAGEID #: 57




                                        ATTACHMENT A

       I.      Property to Be Searched

       One black LG Tracfone Wireless cellular telephone, Identification Numbers:

GPLGL322DCG8 and ZNFL322DL, (hereinafter the "TARGET DEVICE"), which is currently

in FBI custody at 425 West Nationwide Boulevard, Columbus, Ohio, for the purpose ofidentifying

electronically stored data particularly described in Attachment A, Section II.

       II.     Information to Be Seized

       All records, information, and items evidencing who used the TARGET DEVICE,

identified above and/or when and/or from where, as well as evidence, instrumentalities, or fruits

of violations 21 U.S.C. § 841(a)(l), distribution and possession with intent to distribute controlled

substances, and 21 U.S.C. § 846, conspiracy to distribute and possess with the intent to distribute

controlled substances, including:

               a.      incoming and outgoing call and text message logs;

               b.      contact lists;

               c.      photo and video galleries;

               d.      sent and received text messages;

               e.      online searches and sites viewed via the internet;

               f.      online or electronic communications sent and received, including email,
                       chat, and instant messages;

               g.      sent and received audio files;

               h.      navigation, mapping, and GPS files;

               1.      telephone settings, including speed dial numbers and the telephone number
                       for the TARGET DEVICE and related identifying information such as the
                       ESN for the TARGET DEVICE;

               j.      call forwarding information;

                                                24
    Case: 2:21-mj-00686-KAJ Doc #: 1 Filed: 10/21/21 Page: 26 of 26 PAGEID #: 58




                k.      messages drafted but not sent; and

                1.      v01ce messages.

        As used above, the terms "records" and "information" include all of the foregoing items of

evidence in whatever form and by whatever means they may have been created or stored, including

any form of computer or electronic storage (such as flash memory or other media that can store

data) and any photographic form. No real-time communications will be intercepted or searched.

        In searching the TARGET DEVICE, federal agents may examine all of the data contained

in the TARGET DEVICE to view its precise contents and determine whether the TARGET

DEVICE and/or data falls within the information to be seized as set forth above. In addition, they

may search for and attempt to recover "deleted," "hidden," or encrypted data to determine whether

the data falls within the list of items to be seized as set forth above.




                                                  25
